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  6

  7                      UNITED STATES BANKRUPTCY COURT
  8                                DISTRICT OF ARIZONA
  9   In re:                                      Chapter 7 Proceeding
 10   JONATHAN DONALD KOOP,                       Case No.: 2:18-bk-14089-MCW
 11                        Debtor.
 12
      SHAWN MULLIGAN,                             Adv. No.:
 13   ELITE ENTERPRISE SERVICES, LLC,
      a Delaware limited liability company,
 14                                               COMPLAINT UNDER 11
                           Plaintiffs,            U.S.C. § 523 TO DETERMINE
 15                                               NON-DISCHARGEABILITY
      vs.                                         OF DEBT
 16
      JONATHAN DONALD KOOP,
 17
                           Defendant.
 18

 19            Shawn Mulligan and Elite Enterprise Services, LLC (collectively,

 20   “Plaintiffs”), by and through their counsel undersigned, allege as follows:

 21                                      INTRODUCTION

 22            1.   In or about the spring of 2015, Jonathan Koop (“Koop” or “Debtor”)

 23   embarked upon a knowing and intentional campaign to steal a business he had

 24   formed with his business partner, Shawn Mulligan (“Mulligan”), named Elite

 25   Enterprise Services, LLC (“Elite”). Koop literally misappropriated Elite’s website

 26   and email addresses, its marketing materials, customers and vendors, used Elite’s

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  1   contracts and forms, its proprietary business methods and even used Elite’s

  2   financial information to raise money for his new venture.             Koop chose a

  3   confusingly similar business name with a virtually identical “dba” to lure Elite’s

  4   customers and vendors to unknowingly follow him to his new venture, which itself

  5   excluded Mulligan and Elite. Koop’s knowing and intentional actions were

  6   undertaken to his direct benefit and to the financial ruination of Elite and Mulligan.

  7         2.     In the summer of 2015, Elite and Mulligan filed suit in the United

  8   States District Court for the District of Massachusetts (Civil Action 15-40072-TSH).

  9   During the litigation, Koop regularly ignored and violated court orders and was

 10   sanctioned twice by the District Court for his misconduct. In April, 2018, Koop

 11   was ordered to pay to Elite and Mulligan the sum of $26,225.50 for his sanctionable

 12   misconduct. After being sanctioned a second time, an additional fee petition in the

 13   amount of $44,066.50 was pending before the District Court at the time of Koop’s

 14   bankruptcy filing.

 15         3.     Ultimately a multi-day jury trial was held in the District Court in

 16   September, 2018. After hearing the evidence and deliberating for hours, the jury

 17   unanimously found in favor of Elite and Mulligan and against Koop and awarded
 18   $290,000 in damages. Specifically, the jury found that Koop had breached his

 19   fiduciary duties owed to both Mulligan and Elite, that Koop had knowingly

 20   misappropriated Elite’s trade secrets and confidential information, and that Koop

 21   had tortiously interfered in Elite’s contractual and advantageous business

 22   relationships. The jury’s verdict was based on the overwhelming documentary

 23   and testimonial evidence of knowing, reckless and intentional misconduct on

 24   Koop’s part. All of these debts, including the attorney fees’ and sanctions awards,

 25   should be deemed non-dischargeable debts under 11 U.S.C. § 523.

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  1                        PARTIES, JURISDICTION AND VENUE

  2         4.       Shawn Mulligan is an individual who resides in Waltham,

  3   Massachusetts.

  4         5.       Elite is a Delaware limited liability company with its principal office

  5   located at 6991 East Camelback Road, Suite D300, Scottsdale, Arizona 85251.

  6         6.       Jonathan Koop is an individual who resides at 4422 North 75th Street,

  7   Unit 6003, Scottsdale, Arizona 85251.

  8         7.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

  9   § 157(b)(2).

 10         8.       Venue is proper in the United States Bankruptcy Court for the District

 11   of Arizona pursuant to 28 U.S.C. § 1409(a). The Complaint is timely pursuant to

 12   Rule 4004, Federal Rules of Bankruptcy Procedure.

 13                     ALLEGATIONS COMMON TO ALL COUNTS

 14         9.       In or about June 2010, Mulligan and Debtor formed Elite, an entity

 15   engaged in the business of the purchase of consumer debt from debt traders and

 16   the subsequent sale of that debt to commercial purchasers.

 17         10.      For Elite, Mulligan performed various IT and operational functions
 18   while Debtor focused on sales.

 19         11.      Essential to Elite’s operation were the commercial relationships that it

 20   developed and maintained with sellers and purchasers of consumer debt.

 21         12.      In or around September, 2014, Debtor secretly formed an alliance with

 22   a third party, David Jeffress (“Jeffress”), to create a new entity, Icon Capital

 23   Holdings, LLC (“Icon”).

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  1         13.    Icon’s business purpose was to broker litigious debtor leads. This

  2   means that Icon would find and identify individuals who were being pursued by

  3   debt collectors and introduce these debtors to lawyers who specialized in suing

  4   debt collectors.

  5         14.    Icon’s business purpose was antithetical to Elite’s business. Indeed,

  6   Icon’s business purpose was to match debtors and lawyers together who would

  7   then sue Elite’s customers: debt holders.

  8         15.    Recognizing that Icon’s business purpose was at odds with Elite’s

  9   business purpose, Debtor sought to conceal his involvement in Icon from Mulligan.

 10         16.    From Debtor’s Elite email account, he wrote, “we [meaning himself

 11   and Jeffress] would like to go ahead an incorporate a Delaware LLC called Icon.”

 12   He continued: “It is our recommendation to proceed setting up a single member

 13   LLC with David Jeffress as the sole owner/manager. My short term role will be

 14   friendly management advisement and a small capital investment to help him start

 15   up.” Debtor’s accountant noted that Debtor’s investment in the company was to be

 16   “an informal loan to the company and that [Debtor] will have a handshake

 17   agreement with the LLC owner to be able to buy in at a later time.”
 18         17.    Debtor shouldered all of the costs associated with establishing Icon.

 19   Debtor purchased a domain name for Icon. Debtor also prepared a list of debtor

 20   attorneys and law firms who could be approached by Icon to purchase names of

 21   debtors who could file suit. In addition, Debtor prepared a script to have Icon call

 22   center representatives call debtors and inform them that they may have claims

 23   against their debt collectors. All of these acts were undertaken by Debtor using

 24   Elite’s business assets, including its computer server and from Elite’s email

 25   accounts.

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  1         18.    Debtor even misappropriated, after Elite business hours, lists of

  2   debtors from Elite’s computer database so that these individuals could be

  3   contacted by Icon’s call center representatives. Debtor wrote to Jeffress: “I will

  4   have 12k names pulled out late Wednesday night.” Elite possessed this highly

  5   sensitive personal, debtor information pursuant to strict confidentiality agreements

  6   which prohibited the misuse of the data.

  7         19.    In November, 2014, Mulligan learned of Debtor’s scheme. Mulligan

  8   wrote to Debtor: the “ongoing situation [involving his involvement with Icon] that

  9   could constitute an unthinkable compromise of our legal and ethical obligations.”

 10   Mulligan immediately moved all of Elite’s electronic files to a secure location so

 11   that they could not be misappropriated or misused by Debtor.

 12         20.    Mulligan also retained counsel and forwarded Debtor a cease and

 13   desist letter. Despite the cease and desist letter, Debtor continued working on the

 14   Icon project with Jeffress.

 15         21.    Starting in the March, 2015 time period, Debtor came to realize that

 16   Mulligan was unwilling to allow Debtor’s unethical business practices associated

 17   with Icon to continue and Debtor took action to loot Elite of its assets by secretly
 18   forming a new entity owned solely by Debtor. The business purpose of this new

 19   entity was identical to Elite. Over several months, Debtor took action to loot all of

 20   Elite’s valuable assets and transfer those assets to his new company.

 21         22.    Debtor began in mid-March, 2015 by contacting his lawyer to establish

 22   a new company with a name very similar to Elite Enterprise Services, LLC.

 23   Initially, Debtor wanted to name his new company, Elite Enterprise Capital, LLC.

 24   While remaining a 50% owner, a manager and a member of Elite Enterprise

 25   Services, LLC, and from his Elite Enterprise Services, LLC email address, Debtor

 26   directed his lawyer to form Elite Enterprise Capital, LLC.
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  1         23.    Soon thereafter, Debtor began discussions with Elite Enterprise

  2   Services, LLC’s largest customer about assisting Debtor in establishing this new

  3   competitive venture. Debtor also discussed, and ultimately obtained, a business

  4   loan from Elite’s largest customer to assist him with launching the competitive

  5   venture.

  6         24.    Debtor learned from Elite Enterprise Services, LLC’s largest customer

  7   that the business name “Elite Enterprise Capital, LLC” had been taken in a few

  8   states and thus a new business name would be needed. Debtor ultimately settled

  9   upon “Capital Enterprise Services, LLC” (“CES”).

 10         25.    Debtor formed CES and became its sole owner and managing member.

 11         26.    As Debtor took action to launch CES, he approached others to assist in

 12   the financing and launching of the venture. To demonstrate the value of CES’

 13   proposed business, Debtor misappropriated Elite’s confidential financial

 14   information and shared it with proposed CES investors and potential business

 15   partners.   Stated more simply, Debtor took Elite’s confidential financial

 16   information (and Elite’s financial successes) and used it as a basis to suggest to

 17   potential CES investors that the investor should make a financial investment in
 18   CES (not Elite). Debtor made the solicitations from his Elite email address, while

 19   he was a 50% owner, manager and CEO of Elite.

 20         27.    Debtor next began contacting Elite’s business suppliers, vendors,

 21   customers and suppliers. With regard to one particular business partner, Debtor

 22   wrote, again from his Elite email account, that “Elite Enterprise Services is going to

 23   be opening a new entity and I would like to discuss continuing to use your

 24   services.” This statement was knowingly and intentionally false. Debtor knew at

 25   the time he was making these false statements that CES was not a company formed

 26   by Elite and he knew that CES was not associated with Elite. The statement and
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  1   other statements like it were misrepresentations designed to mislead business

  2   partners, customers, vendors and suppliers into believing they were still doing

  3   business with Elite when they were not.

  4         28.   Debtor also directed emails to be sent, again from Elite email accounts,

  5   to customers falsely stating that “Elite Enterprise Services, LLC has gone under a

  6   reorganization … we are now known as Capital Enterprise Services, LLC d/b/a

  7   Bankrupt Debt Acquisition.” Of course, this statement was false and knowingly so.

  8   Elite had not gone under a reorganization and it was not now known as Capital

  9   Enterprise Services, LLC d/b/a Bankrupt Debt Acquisition. It reflected yet another

 10   series of knowing misrepresentations designed to trick Elite’s customers, partners,

 11   vendors and suppliers into believing that CES and Elite were one and the same.

 12         29.   Debtor also chose a virtually identical “dba” to operate CES. Elite’s

 13   trade name (or “dba”) was “Bankrupt and Deceased Debt Acquisition.” He chose

 14   to operate CES as “Bankrupt Debt Acquisition.”

 15         30.   Debtor also took Elite’s vendor contracts and had those contracts

 16   re-executed in CES’ name. Indeed, CES executed the identical contracts which Elite

 17   had executed with its vendors. The sole change was the removal of the name
 18   “Elite” and the addition of CES as a party.

 19         31.   Debtor then took Elite’s marketing materials and began using these

 20   materials as CES’ marketing materials. Pages from Elite’s marketing/power point

 21   presentation were literally lifted without change into CES’ marketing materials. In

 22   connection with the marketing of CES, Debtor directed CES employees to represent

 23   that “all functions, services and solutions for Bankrupt Debt Acquisition remain

 24   intact.” Again, all of these activities were undertaken from Elite email accounts,

 25   further perpetuating the false narrative that CES and Elite were the same.

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  1         32.   By April, 2015, CES began buying debt from the same sources where

  2   Elite had purchased debt and CES began selling that debt to Elite’s largest

  3   customer, the same customer who had helped Debtor for CES.

  4         33.   As a result of Debtor’s actions, CES became a financial success and

  5   Elite was financially ruined.

  6         34.   In the summer of 2015, Elite and Mulligan commenced suit against

  7   Debtor in the United States District Court for the District of Massachusetts. The

  8   matter was assigned Civil Action No. 15-40072-TSH (hereinafter referred to as “the

  9   Civil Action”).

 10         35.   The Civil Action was litigated for several years. The matter took

 11   longer to litigate than the typical case due to Debtor’s refusal to meaningfully

 12   comply with his discovery obligations.

 13         36.   In February, 2018, having had enough of Debtor’s gamesmanship, the

 14   District Court entered a sanction order against Debtor. The sanction order

 15   included an award of attorneys’ fees in the amount of $26,225.50. Debtor failed

 16   and refused to pay the sanction award.

 17         37.   Undeterred by the District Court’s sanction decision, Debtor continued
 18   to flout the court rules. A second sanction order issued against Debtor in August,

 19   2018. Again, the District Court’s order entitled Elite and Mulligan to an award of

 20   attorneys’ fees. Elite and Mulligan submitted a $44,066.50 fee petition, which

 21   remained pending at the time of Debtor’s bankruptcy filing.

 22         38.   A jury trial in the Civil Action was held in the summer of 2015. The

 23   jury trial continued for several days. On September 17, 2018, the jury rendered its

 24   unanimous verdict, finding against Debtor and in favor of Elite and Mulligan. In

 25   particular, the jury concluded that Debtor had breached his fiduciary duties owed

 26   to Elite and Mulligan, that Debtor had misappropriated Elite’s trade secrets and
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  1   that Debtor had tortiously interfered with Elite’s contractual and advantageous

  2   business relationships. The jury awarded $290,000 against Debtor and in favor of

  3   Mulligan and Elite. The jury’s verdict remains unpaid.

  4                                        COUNT ONE

  5                            (Violation of 11 U.S.C. § 523(a)(2)(A))

  6         39.    Plaintiffs incorporate herein by reference all of the allegations

  7   contained in this Complaint as though fully set forth herein.

  8         40.    Debtor obtained money or property from Mulligan and Elite based on

  9   his false pretenses, false representations, and actual fraud, all in violation of 11

 10   U.S.C. § 523(a)(2)(A).

 11         41.    As a direct and proximate cause of Debtor’s conduct, Mulligan and

 12   Elite have suffered damages in an amount not less than $290,000.00 with the exact

 13   amount to be proven at trial.

 14         42.    Plaintiffs are entitled to an award of their reasonable attorneys’ fees

 15   and costs incurred and expended herein together with interest accruing at the

 16   highest rate allowed by law.

 17         WHEREFORE, Plaintiffs pray for judgment against Jonathan Koop, as
 18   follows:

 19         A.     That the Court decree that Debtor is indebted to Plaintiffs and that

 20   such indebtedness is non-dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A);

 21         B.     For judgment in favor of Mulligan and Elite in the total sum of not less

 22   than Two Hundred Ninety Thousand and 00/100 Dollars ($290,000.00), together

 23   with interest and taxable costs;

 24         C.     That the Court award Mulligan and Elite their reasonable attorneys’

 25   fees and costs; and

 26         D.     For such other and further relief as this Court deems just and proper.
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  1                                      COUNT TWO

  2                            (Violation of 11 U.S.C. § 523(a)(4))

  3         43.    Plaintiffs incorporate herein by reference all of the allegations

  4   contained in this Complaint as though fully set forth herein.

  5         44.    Debtor is indebted to Mulligan and Elite based on his fraud and/or

  6   defalcation upon them and their property while acting in a fiduciary capacity to

  7   Mulligan and Elite as well as embezzlement and/or larceny, all in violation of 11

  8   U.S.C. § 523(a)(4).

  9         45.    As a direct and proximate cause of Debtor’s conduct, Mulligan and

 10   Elite have suffered damages in an amount not less than $290,000.00 with the exact

 11   amount to be proven at trial.

 12         46.    Plaintiffs are entitled to an award of their reasonable attorneys’ fees

 13   and costs incurred and expended herein together with interest accruing at the

 14   highest rate allowed by law.

 15         WHEREFORE, Plaintiffs pray for judgment against Jonathan Koop, as

 16   follows:

 17         A.     That the Court decree that Debtor is indebted to Plaintiffs and that
 18   such indebtedness is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4);

 19         B.     For judgment in favor of Mulligan and Elite in the total sum of not less

 20   than Two Hundred Ninety Thousand and 00/100 Dollars ($290,000.00), together

 21   with interest and taxable costs;

 22         C.     That the Court award Mulligan and Elite their reasonable attorneys’

 23   fees and costs; and

 24         D.     For such other and further relief as this Court deems just and proper.

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  1                                      COUNT THREE

  2                            (Violation of 11 U.S.C. § 523(a)(6))

  3         47.      Plaintiffs incorporate herein by reference all of the allegations

  4   contained in this Complaint as though fully set forth herein.

  5         48.      Debtor is indebted to Mulligan and Elite as a result of his willful and

  6   malicious injury to Mulligan and Elite and their property pursuant to 11 U.S.C.

  7   § 523(a)(6).

  8         49.      As a direct and proximate cause of Debtor’s conduct, Mulligan and

  9   Elite have suffered damages in an amount not less than $290,000.00 with the exact

 10   amount to be proven at trial.

 11         50.      Plaintiffs are entitled to an award of their reasonable attorneys’ fees

 12   and costs incurred and expended herein together with interest accruing at the

 13   highest rate allowed by law.

 14         WHEREFORE, Plaintiffs pray for judgment against Jonathan Koop, as

 15   follows:

 16         A.       That the Court decree that Debtor is indebted to Plaintiffs and that

 17   such indebtedness is non-dischargeable pursuant to 11 U.S.C. § 523(a)(6);
 18         B.       For judgment in favor of Mulligan and Elite in the total sum of not less

 19   than Two Hundred Ninety Thousand and 00/100 Dollars ($290,000.00), together

 20   with interest and taxable costs;

 21         C.       That the Court award Mulligan and Elite their reasonable attorneys’

 22   fees and costs; and

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  1         D.     For such other and further relief as this Court deems just and proper.

  2         DATED this 22nd day of February, 2019.

  3                                      JENNINGS, HAUG & CUNNINGHAM, L.L.P.
  4

  5                                      /s/ Matthew H. Sloan (#018632)
                                         Matthew H. Sloan
  6                                      Attorneys for Shawn Mulligan and
                                         Elite Enterprise Services, LLC
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